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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

 WEBROOT, INC. and
 OPEN TEXT, INC.,

                    Plaintiffs,

 v.

 FORCEPOINT LLC,                                 CIVIL ACTION NO. 6:22-CV-00342-ADA

                    Defendant.                   JURY TRIAL DEMANDED

 FORCEPOINT LLC,

                    Counterclaim Plaintiff,

 v.

 WEBROOT, INC., OPEN TEXT INC., and
 OPEN TEXT CORPORATION,

                    Counterclaim-Defendants.



      JOINT NOTICE REGARDING COUNTERCLAIM-DEFENDANT OPEN TEXT
                       CORP.’S MOTION TO DISMISS

       Plaintiffs/Counter-Defendants Webroot, Inc., Open Text, Inc., and Open Text Corporation

and Defendant/Counter-Plaintiff Forcepoint LLC submit this Joint Notice Regarding

Counterclaim-Defendant Open Text Corporation’s Motion to Dismiss Counterclaim-Plaintiff’s

Declaratory Judgment Patent Claims (Dkt. 31).

       On March 31, 2022, Plaintiffs Webroot, Inc. and Open Text, Inc. (“Plaintiffs”) filed its

original complaint against Forcepoint LLC (“Forcepoint”), alleging infringement of U.S. Patent

Nos. 8,726,389; 10,599,844; 8,438,386; 9,413,721; and 10,025,928. See Dkt. 1. On June 10, 2022,

Forcepoint LLC (“Forcepoint”) filed its answer and counterclaims for declaratory judgment. See
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Dkt. 26. On July 1, 2022, Counterclaim-Defendant Open Text Corporation filed a motion to

dismiss Forcepoint’s declaratory judgment patent claims. See Dkt. 31. On July 14, 2022,

Forcepoint filed its amended answer and counterclaims alleging infringement of U.S. Patent Nos.

7,194,464; 8,938,773; 8,978,140; 9,609,101; and 9,654,495. See Dkt. 35. The parties agree that

the filing of Forcepoint’s amended answer and counterclaims makes Forcepoint’s amended answer

and counterclaims the operative pleading and thus renders moot Open Text Corporation’s motion

to dismiss the original answer and counterclaims filed by Forcepoint (Dkt 26).




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Dated: July 22, 2022                  Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on July 22, 2022 with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3).

                                                /s/ Kat Li
                                                Kat Li




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